         Case 1:25-cv-01192-JPW                           Document 1        Filed 06/30/25                 Page 1 of 47




                           ,1THE UNITED STATES DISTRICT COURT FOR
                             THE MIDDLE DISTRICT OF PENNSYLVANIA

Kimet Terolli, Individually and as                                     :
Administrator of the Estate of Paola                                   :
Terolli, deceased                                                      :   NO.
1014 55th Street, Apartment 4A                                         :
Brooklyn, NY 11219.                                                    :   JURY TRIAL DEMANDED
                                                                       :
                                  Plaintiff,                           :
                                                                       :
                      v.                                               :
                                                                       :
Penn State Health;                                                     :
100 Crystal A Drive                                                    :
Hershey, PA 17033                                                      :
                                                                       :
          and                                                          :
                                                                       :
The Milton S. Hershey Medical Center;                                  :
500 University Drive                                                   :
Hershey, PA 17033                                                      :
                                                                       :
                      (continued next page)

                                NOTICE                                                                ADVISO
You have been sued in court. If you wish to defend against the             Le han demandado a used en la corte. Si usted quiere
claims set forth in the following pages, you must take action within       defenderse de estas demandas expuestas en las paginas
twenty (20) days after this complaint and notice are served, by            siguientes, usted tiene veinte (20) dias de plazo al partir de la
entering a written appearance personally or by attorney and filing         fecha de la demanda y la notificacion. Hace falta asentar una
in writing with the court your defenses or objections to the claims        comparencia escrita o en persona o con un abogado y entregar
set forth against you. You are warned that if you fail to do so the        a la corte en forma escrita sus defensas o sus objeciones a las
case may proceed without you and a judgment may be entered                 demandas en contra de su persona. Sea avisado que si usted
against you by the court without further notice for any money              no se defiende, la corte tomara medidas y puede continuar la
claimed in the complaint or for any other claim or relief requested        demanda en contra suya sin previo aviso o notificacion.
by the Plaintiff. You may lose money or property or other rights           Ademas, la corte pueda decidir a favor del demandante y
important to you.                                                          requiere que usted cumpla con todas las provisiones de esta
                                                                           demanda. Usted puede perder dinero o sus propiedades u
YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                               otros derechos importantes para usted.
ONCE. IF YOU DO NOT HAVE A LAWYER, GO TO OR
TELEPHONE THE OFFICE SET FORTH BELOW. THIS                                 LLEVE ESTA DEMANDA A UN ABOGADO
OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT                              INMEDIATAMENTE, SI NO TIENE ABOGADO O SI NO
HIRING A LAWYER. IF YOU CANNOT AFFORD TO HIRE A                            TIENE EL DINERO SUFICIENTE DE PAGAR TAL
LAWYER, THIS OFFICE MAY BE ABLE TO PROVIDE YOU                             SERVICIO, VAYA EN PERSONA O LLAME POR
WITH INFORMATION ABOUT AGENCIES THAT MAY                                   TELEFONO A LA OFICINA CUYA DIRECCION SE
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A                              ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
REDUCED FEE OR NO FEE.                                                     DONDE SE PUEDE CONSEGUIR ASISTENCIA
                                                                           LEGAL. ESTA OFICINA LO PUEDE PROPORCIONAR
                    Lawyer Referral Service                                CON INFORMACION ACERCA DE EMPLEAR A UN
                  Philadelphia Bar Association                             ABOGADO. SI USTED NO PUEDE PROPORCIONAR
                  1101 Market Street, 11th Floor                           PARA EMPLEAR UN ABOGADO, ESTA OFICINA
                    Philadelphia, PA 19107                                 PUEDE SER CAPAZ DE PROPORCIONARLO CON
                        (215) 238-6338                                     INFORMACION ACERCA DE LAS AGENCIAS QUE
                                                                           PUEDEN OFRECER LOS SERVICOS LEGALES A
                                                                           PERSONAS ELEGIBLES EN UN HONORARIO
                                                                           REDUCIDO NINGUN HONORARIO.
       Case 1:25-cv-01192-JPW            Document 1       Filed 06/30/25      Page 2 of 47




        and                                      :
                                                 :
 Brian D. Dodson, M.D.                           :
 209 Fox Chase Drive                             :
 Duncansville, PA 16635                          :
                                                 :
        and                                      :
                                                 :
 Janet Cady, CRNP                                :
 3014 Fairchild Lane                             :
 State College, PA 16801,                        :
                                                 :
                        Defendants.              :


                            CIVIL ACTION COMPLAINT
                     MEDICAL PROFESSIONAL LIABILITY ACTION

       Plaintiff, Kimet Terolli, Individually and as Administrator of the Estate of Paola Terolli,

Deceased, by and through his undersigned attorneys, brings this medical malpractice action against

Defendants named herein and demands damages of all Defendants in a sum in excess of the local

arbitration limits, exclusive of interest, costs, and damages for pre-judgment delay, upon the causes

of actions set forth below:

                                        INTRODUCTION

       1.      This wrongful death and survival action arises out of the death of 25-year-old Paola

Terolli, a graduate student at Penn State University who entrusted her medical care to the health

care providers and medical institutions of Penn State Health while she attended school with

aspirations of becoming a biomechanical engineer.

       2.      As a result of the professional negligence of Defendants, as specified herein, Paola

Terolli’s colon cancer was not promptly diagnosed and treated, and was instead allowed to




                                                 2
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 3 of 47




progress over many months until her tragic death on July 19, 2023, less than a month after being

diagnosed and just days after turning 25 years old.

       3.      Ms. Terolli’s father now brings this diversity action to hold Penn State Health and

its medical providers responsible for the delayed diagnosis of her colon cancer, the premature

death of a smart young woman who was deprived of fulfilling her goals and creating a new legacy

for her family as part of their American dream.



                         PARTIES AND JURISDICTIONAL FACTS

       4.      Plaintiff, Kimet Terolli, is an adult individual who at all relevant times was

domiciled in New York at his residential address of 1014 55th Street, Apartment 4A, Brooklyn,

NY 11219.

       5.      Plaintiff, Kimet Terolli, is Administrator of the Estate of Paola Terolli, deceased,

having been so appointed by the Surrogate’s Court of the State of New York, King County. A

copy of the Estate Administration paperwork designating Mr. Terolli as the Administrator of his

late daughter’s estate is attached hereto as Exhibit A.

       6.      Plaintiff, Kimet Terolli, brings this action as the duly-appointed Administrator of

his late daughter’s Estate and on behalf of her beneficiaries at law under the Pennsylvania

Wrongful Death Act, 42 Pa. C.S.A. §8301, the Pennsylvania Survival Act, 42 Pa. C.S.A. §8302,

and the applicable Rules of Civil Procedure and decisional law.

       7.      Plaintiff-decedent’s statutory beneficiaries are: Kimet Terolli (surviving father) and

Mimoza Cekani (surviving mother).




                                                  3
       Case 1:25-cv-01192-JPW            Document 1        Filed 06/30/25       Page 4 of 47




       8.      Defendant, Penn State Health, is a domestic non-profit corporation organized and

existing under the laws of the laws of the Commonwealth of Pennsylvania, with a principal place

of business of 100 Crystal A Drive, Hershey, PA 17033. At all relevant times, Penn State Health

was engaged in the provision of medical care, treatment, and healthcare services to the public,

including members of the public in Pennsylvania such as Plaintiff-decedent, Paola Terolli,

deceased, at and/or through hospitals and medical practices that it owned, managed, maintained,

operated, and/or controlled, including in particular Hershey Medical Center, located at 500

University Drive, Hershey, PA 17033, the Penn State Health Division of Gastroenterology, the

Penn State Health Gastrointestinal Colorectal Nursing Service, and the Penn State Health

Endoscopy Center, located at 32 Colonnade Way, State College, PA 16803. Moreover, Defendant

Penn State Health employed physicians, graduate medical trainees (interns, residents, and fellows),

nurses, certified registered nurse anesthetists, physician assistants, nurse practitioners, therapists,

technicians, medical office assistants, administrators, specialist providers, and other medical staff

including Brian D. Dodson M.D., Janet Cady CRNP, Kofi Clarke M.D., David Mellinger M.D.,

Guoli Chen M.D., Dawn M Sanzotti PA-C, Killi Jo Simco PA-C, Thu Thi Gazzio RN, Anne Bobb

RN, Rayna Craig RN, Jenna Evans RN, Debra Lucas LPN, Erin Keen LPN, Shelly L. Snook LPN,

Keira Park LPN, Lindsey Rattray, Jessica Stroud, Brittany Meyers, Alison Houser, Elizabeth

Grenoble, Wendy McElwain, Morgan Ross, Gail A. Brown, Theresa L. Davis, Kayle Motes-West,

Sarah Worthington, Emlily Clark, and other agents, servants, and employees who purportedly

possessed skill and training for the purposes of providing medical care and services to the general

public, and Paola Terolli, deceased, in particular. The claims asserted against Defendant Penn State

Health are for the professional negligence of these actual, apparent and/or ostensible agents,


                                                  4
       Case 1:25-cv-01192-JPW            Document 1        Filed 06/30/25      Page 5 of 47




servants and employees who participated in the care of Ms. Terolli from August 2022 and

thereafter, and whose acts and failures to act, described more particularly herein, increased the risk

of harm and were substantial factors contributing to Ms. Terolli’s catastrophic, debilitating,

permanent and ultimately fatal cancer diagnosis leading directly to her death. As stated more fully

herein, the claims against this defendant also include a claim for corporate (direct) negligence

under Thompson v. Nason, 527 Pa. 330, 591 A.2d 703 (1991), and its progeny of case law. As

required by Pennsylvania law, a Certificate of Merit as to this defendant is being filed separately

with the Court.

       9.      Defendant, The Milton S. Hershey Medical Center (“HMC”), is a domestic non-

profit corporation organized and existing under the laws of the laws of the Commonwealth of

Pennsylvania, with a principal place of business of 500 University Drive, Hershey, PA 17033. At

all relevant times, HMC was engaged in the provision of medical care, treatment, and healthcare

services to the public, including members of the public in Pennsylvania such as Plaintiff-decedent,

Paola Terolli, deceased, at and/or through the hospital and affiliated medical practices that it owned,

managed, maintained, operated, and/or controlled on the campus of Hershey Medical Center,

located at 500 University Drive, Hershey, PA 17033, and facilitated healthcare services through

referrals to and collaboration with the Penn State Health Division of Gastroenterology, the Penn

State Health Gastrointestinal Colorectal Nursing Service, and the Penn State Health Endoscopy

Center located at 32 Colonnade Way, State College, PA 16803. Moreover, Defendant HMC

employed physicians, graduate medical trainees (interns, residents, and fellows), nurses, certified

registered nurse anesthetists, physician assistants, nurse practitioners, therapists, technicians,

medical office assistants, administrators, specialist providers, and other medical staff including


                                                  5
       Case 1:25-cv-01192-JPW            Document 1       Filed 06/30/25       Page 6 of 47




Brian D. Dodson M.D., Janet Cady CRNP, Kofi Clarke M.D., David Mellinger M.D., Guoli Chen

M.D., Dawn M Sanzotti PA-C, Killi Jo Simco PA-C, Thu Thi Gazzio RN, Anne Bobb RN, Rayna

Craig RN, Jenna Evans RN, Debra Lucas LPN, Erin Keen LPN, Shelly L. Snook LPN, Keira Park

LPN, Lindsey Rattray, Jessica Stroud, Brittany Meyers, Alison Houser, Elizabeth Grenoble,

Wendy McElwain, Morgan Ross, Gail A. Brown, Theresa L. Davis, Kayle Motes-West, Sarah

Worthington, Emlily Clark, and other agents, servants, and employees who purportedly possessed

skill and training for the purposes of providing medical care and services to the general public, and

Paola Terolli, deceased, in particular. The claims asserted against Defendant HMC are for the

professional negligence of these actual, apparent and/or ostensible agents, servants and employees

who participated in the care of Ms. Terolli from August 2022 and thereafter, and whose acts and

failures to act, described more particularly herein, increased the risk of harm and were substantial

factors contributing to Ms. Terolli’s catastrophic, debilitating, permanent and ultimately fatal

cancer diagnosis leading directly to her death. As stated more fully herein, the claims against this

defendant also include a claim for corporate (direct) negligence under Thompson v. Nason, 527 Pa.

330, 591 A.2d 703 (1991), and its progeny of case law. As required by Pennsylvania law, a

Certificate of Merit as to this defendant is being filed separately with the Court.

       10.     For purposes of this Complaint, Defendants Penn State Health and HMC are

collectively referred to herein as the “Penn State Defendants.”

       11.     At all relevant times, the Penn State Defendants were engaged in the practice of

medicine, pursuing their respective specialties and/or health care duties, and were obligated to use

the professional skill, knowledge and care which they possessed, and to pursue their professions

in accordance with reasonably safe and accepted standards of medicine and professional care in


                                                  6
       Case 1:25-cv-01192-JPW             Document 1       Filed 06/30/25       Page 7 of 47




general, and in their specialties in particular, as well as institutional standards of medical care, in

their care of Plaintiff-decedent Paola Terolli.

       12.     At all relevant times hereto, the Penn State Defendants engaged as their actual,

apparent or ostensible agents, servants and/or employees various healthcare providers, physicians,

anesthesiologists, graduate medical trainees (interns, residents, and fellows), nurses, physician

assistants, nurse practitioners, therapists, and technicians, who at all times were acting within the

course and scope of their agency and/or employment with defendants and under the Penn State

Defendants’ exclusive control. The Penn State Defendants are therefore liable for the negligent

acts or omissions of their authorized servants, employees, and actual or ostensible agents under

theories of respondeat superior, master-servant, agency, and right of control. The identities of

these agents, servants and employees include Brian D. Dodson M.D., Janet Cady CRNP, Kofi

Clarke M.D., David Mellinger M.D., Guoli Chen M.D., Dawn M Sanzotti PA-C, Killi Jo Simco

PA-C, Thu Thi Gazzio RN, Anne Bobb RN, Rayna Craig RN, Jenna Evans RN, Debra Lucas LPN,

Erin Keen LPN, Shelly L. Snook LPN, Keira Park LPN, Lindsey Rattray, Jessica Stroud, Brittany

Meyers, Alison Houser, Elizabeth Grenoble, Wendy McElwain, Morgan Ross, Gail A. Brown,

Theresa L. Davis, Kayle Motes-West, Sarah Worthington, Emlily Clark, and other healthcare

providers, as identified herein and in the medical records, who acted as agents, servants, and

employees who acted as agents of the Penn Defendants for purposes of rendering care to patients

like Plaintiff-decedent, Paola Terolli.

       13.     At all relevant times, Brian D. Dodson M.D., Janet Cady CRNP, Kofi Clarke M.D.,

David Mellinger M.D., Guoli Chen M.D., Dawn M Sanzotti PA-C, Killi Jo Simco PA-C, Thu Thi

Gazzio RN, Anne Bobb RN, Rayna Craig RN, Jenna Evans RN, Debra Lucas LPN, Erin Keen


                                                  7
       Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25      Page 8 of 47




LPN, Shelly L. Snook LPN, Keira Park LPN, Lindsey Rattray, Jessica Stroud, Brittany Meyers,

Alison Houser, Elizabeth Grenoble, Wendy McElwain, Morgan Ross, Gail A. Brown, Theresa L.

Davis, Kayle Motes-West, Sarah Worthington, Emlily Clark, and other healthcare providers at the

Defendants’ facilities and practices, like HMC, the Penn State Health Division of Gastroenterology,

the Penn State Health Gastrointestinal Colorectal Nursing Service, and the Penn State Health

Endoscopy Center were the actual, apparent and/or ostensible agents and/or employees of one or

more of the Penn State Defendants, and acting within the course and scope of their agency and/or

employment therewith while providing medical care and treatment to Plaintiff-decedent, Paola

Terolli. Accordingly, one or more of the Penn State Defendants are vicariously liable for the

negligent acts and omissions of these individuals under theories of respondeat superior, ostensible

agency, and right of control.

       14.     At all relevant times, Plaintiff-decedent, Paola Terolli was under the medical care,

treatment, and attendance of the Penn State Defendants, and their respective aforementioned actual,

apparent and/or ostensible agents, servants and/or employees, as specifically defined herein, all of

whom were acting within the course and scope of their employment or agency with one or more

of the Penn State Defendants, and under their right of control.

       15.     Defendant, Brian D. Dodson, M.D. is a physician duly licensed to practice medicine

in the Commonwealth of Pennsylvania, specializing in gastroenterology. At all relevant times, Dr.

Dodson had professional offices or medical practice locations at the Penn State Health Endoscopy

Center, 32 Colonnade Way, State College, PA 16803, and/or at Hershey Medical Center, 500

University Drive, Hershey, PA 17033, where he provided medical, treatment, and/or services to

patients like Plaintiff-decedent, Paola Terolli. At all relevant times, Dr. Dodson was engaged in


                                                 8
       Case 1:25-cv-01192-JPW            Document 1        Filed 06/30/25      Page 9 of 47




the provision of medical care, treatment, and services to patients, including the decedent, Ms.

Terolli, at Penn State Health Endoscopy Center, Hershey Medical Center, or other locations owned,

operated, and controlled by the Penn State Defendants. During the relevant time period of August

2022 through July 2023, Dr. Dodson was directly employed by one or more of the Penn State

Defendants and was at all relevant times described below, acting as an actual or ostensible agent

of each of them. Plaintiff is asserting a professional liability claim against this defendant for his

own negligent acts and omissions while caring for Ms. Terolli as well as for vicarious liability for

the professional negligence of Dr. Dodson’s agents, servants and employees, acting on his behalf

or subject to his control in the care of Ms. Terolli between August 2022 and July 2023, including

Janet Cady CRNP, Kofi Clarke M.D., David Mellinger M.D., Guoli Chen M.D., Dawn M Sanzotti

PA-C, Killi Jo Simco PA-C, Thu Thi Gazzio RN, Anne Bobb RN, Rayna Craig RN, Jenna Evans

RN, Debra Lucas LPN, Erin Keen LPN, Shelly L. Snook LPN, Keira Park LPN, Lindsey Rattray,

Jessica Stroud, Brittany Meyers, Alison Houser, Elizabeth Grenoble, Wendy McElwain, Morgan

Ross, Gail A. Brown, Theresa L. Davis, Kayle Motes-West, Sarah Worthington, and Emlily Clark,

whose acts and omissions directly and proximately caused Plaintiff-decedent’s delay in cancer

diagnosis, catastrophic injuries, and death as more specifically described herein. As required by

Pennsylvania law, a Certificate of Merit as to this defendant is being filed separately with the Court.

       16.     Defendant, Janet Cady, CRNP (“NP Cady”) is a certified registered nurse

practitioner duly licensed to practice medicine in the Commonwealth of Pennsylvania, specializing

in family medicine and gastroenterology. At all relevant times, NP Cady had a professional office

or medical practice located at the Penn State Health Endoscopy Center, 32 Colonnade Way, State

College, PA 16803, where she provided medical, treatment, and/or services to patients like


                                                  9
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 10 of 47




Plaintiff-decedent, Paola Terolli. At all relevant times, NP Cady was engaged in the provision of

medical care, treatment, and services to patients, including the decedent, Ms. Terolli, at Penn State

Health Endoscopy Center, or other locations owned, operated, and controlled by the Penn State

Defendants. During the relevant time period of August 2022 through July 2023, NP Cady was

directly employed by one or more of the Penn State Defendants and was at all relevant times

described below, acting as an actual or ostensible agent of each of them. Plaintiff is asserting a

professional liability claim against this defendant for her own negligent acts and omissions while

caring for Ms. Terolli as well as for vicarious liability for the professional negligence of NP Cady’s

agents, servants and employees, acting on her behalf or subject to her control in the care of Ms.

Terolli between August 2022 and July 2023, including Brian D. Dodson M.D., Kofi Clarke M.D.,

David Mellinger M.D., Guoli Chen M.D., Dawn M Sanzotti PA-C, Killi Jo Simco PA-C, Thu Thi

Gazzio RN, Anne Bobb RN, Rayna Craig RN, Jenna Evans RN, Debra Lucas LPN, Erin Keen

LPN, Shelly L. Snook LPN, Keira Park LPN, Lindsey Rattray, Jessica Stroud, Brittany Meyers,

Alison Houser, Elizabeth Grenoble, Wendy McElwain, Morgan Ross, Gail A. Brown, Theresa L.

Davis, Kayle Motes-West, Sarah Worthington, and Emlily Clark, whose acts and omissions

directly and proximately caused Plaintiff-decedent’s delay in cancer diagnosis, catastrophic

injuries, and death as more specifically described herein. As required by Pennsylvania law, a

Certificate of Merit as to this defendant is being filed separately with the Court.

       17.     At all relevant times, a physician-patient relationship existed between Plaintiff-

decedent, Paola Terolli and each of the Defendants and their agents, servants and/or employees.




                                                 10
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 11 of 47




       18.     At all relevant times, Plaintiff-decedent, Paola Terolli was under the medical and

professional care, treatment, and attendance of All Defendants, directly or indirectly, through their

agents, servants, and/or employees, who participated in his care as described below.

       19.     At all relevant times, All Defendants undertook and/or assumed a duty to Plaintiff-

decedent, Paola Terolli, to provide her with timely and appropriate medical care, management, and

treatment for her condition and to avoid the risk of harm and additional injury including cancer

progression, metastasis of her disease, and death.

       20.     At all relevant times, All Defendants had actual or constructive knowledge of the

medical and professional care and treatment provided to Plaintiff-decedent, Paola Terolli.

       21.     The carelessness and negligence of All Defendants and each of them, jointly and

severally, as described herein, increased the risk of harm to Plaintiff-decedent, Paola Terolli and

did, in fact, cause her to suffer catastrophic, debilitating, and permanent neurological injuries.

       22.     At all relevant times, Plaintiff-decedent, Paola Terolli looked to and relied upon the

knowledge, care, skill, treatment and advice of each of the Penn State Defendants, Dr. Dodson,

NP Cady, and their respective agents, servants, and employees, in connection with the medical and

professional advice, care and treatment that was provided.

       23.     As a direct result of the carelessness and negligence of Defendants and each of them,

jointly and severally, as described herein, Plaintiff-decedent, Paola Terolli failed to receive proper

monitoring, work-up, evaluation, diagnosis, management, intervention and treatment of her

condition, and she was exposed to a wholly preventable increased risk of harm, including the

delayed diagnosis and resulting progression and metastasis of her cancer, and as a result she was




                                                 11
       Case 1:25-cv-01192-JPW            Document 1        Filed 06/30/25      Page 12 of 47




caused to needlessly suffer catastrophic, painful, debilitating, and ultimately fatal injuries, as

described herein and further in her medical records.

        24.     At all relevant times, the Penn State Defendants’ agents and employees identified

herein were engaged in the practice of medicine, pursuing their specialties, and were obliged to

bring to bear in the practice of their profession the professional skill, knowledge, and care that they

possessed and to pursue their profession in accordance with reasonably safe and accepted standards

of medicine, in general, and in their specialties, in particular.

        25.     The catastrophic, debilitating, and permanent injuries suffered by Plaintiff-

decedent, Paola Terolli were caused solely and exclusively by the conduct of All Defendants,

jointly, and severally with their agents, servants and/or employees, as defined herein, and were

due in no manner to any act or failure to act on the part of decedent or Plaintiffs.



                                  JURISDICTION AND VENUE

        26.     This Court has diversity jurisdiction over this action because the action is entirely

between citizens of different states, and the amount in controversy exceeds the sum or value of

$75,000.00, exclusive of interest and costs.

        27.     Plaintiff, Kimet Terolli, is an adult individual who at all relevant times has been a

citizen of the State of New York, domiciled at the address of 1014 55th Street, Apartment 4A,

Brooklyn, NY 11219.

        28.     Plaintiff, Kimet Terolli, is the duly appointed Administrator of the Estate of Paola

Terolli, deceased, which was raised in the State of New York.




                                                  12
      Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25     Page 13 of 47




       29.     Plaintiff-decedent, Paola Terolli was at all relevant times a citizen of the State of

New York, domiciled at the address of 1014 55th Street, Apartment 4A, Brooklyn, NY 11219.

       30.     Defendant, Penn State Health is a domestic corporation with its state of

incorporation in Pennsylvania and a principal place of business located at 100 Crystal A Drive,

Hershey, PA 17033.

       31.     Defendant, The Milton S. Hershey Medical Center is a domestic corporation with

its state of incorporation in Pennsylvania and a principal place of business located at 500

University Drive, Hershey, PA 17033

       32.     Defendant, Brian D. Dodson M.D. is an adult individual who at all relevant times

has been a citizen of the Commonwealth of Pennsylvania, domiciled at the address of 209 Fox

Chase Drive, Duncansville, PA 16635.

       33.     Defendant, Janet Cady CRNP is an adult individual who at all relevant times has

been a citizen of the Commonwealth of Pennsylvania, domiciled at the address of 3014 Fairchild

Lane, State College, PA 16801.

       34.     Based on the foregoing, this Honorable Court has subject matter jurisdiction over

the causes of action based on diversity jurisdiction. 28 U.S.C. § 1332(a)(1).

       35.     Venue properly lies before this Honorable Court because this action arises out of

the acts and omissions of Defendants relative to their medical care and treatment of Plaintiff-

decedent, Paola Terolli, at Hershey Medical Center and the Penn State Health Endoscopy Center,

both of which are situated within the vicinages of the U.S. District Court for the Middle District

of Pennsylvania.




                                                13
      Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25       Page 14 of 47




                    OPERATIVE FACTS COMMON TO ALL COUNTS

       36.     The preceding paragraphs are incorporated by reference as if set forth fully herein.

       37.     On August 31, 2022, Plaintiff-decedent Paola Terolli was a promising

biomechanical engineering graduate student temporarily residing in State College only for the

purpose of attending graduate school at the Pennsylvania State University.

       38.     On August 31, 2022, Plaintiff-decedent, Paola Terolli presented to Defendant, Penn

State Health’s outpatient office, the Penn State Health Endoscopy Center in State College, PA.

       39.     On August 31, 2022, Ms. Terolli was seen and assessed by Defendant, Janet Cady

CRNP (“NP Cady”) for continued evaluation of her Chron’s disease, including a recent flare-up

of symptoms.

       40.     As of August 31, 2022, Ms. Terolli presented to the Penn State Health Endoscopy

Center to comply with a recommendation that she undergo repeat colonoscopy to assess her

Chron’s disease activity given the presence of atypical cells seen on histological sample(s)

obtained from past colonoscopy(ies), including one that was performed on February 2, 2022.

       41.     At the time of August 31, 2022, Ms. Terolli informed NP Cady and by extension,

Dr. Dodson and the Penn State Defendants, that she required repeat colonoscopy based on the

findings of clinical and pathological abnormalities on the February 2, 2022 colonoscopy.

       42.     At the time of August 31, 2022 and through Ms. Terolli’s death in July 2023, NP

Cady was practicing under the supervision of physicians who were employed by or agents of

Defendants, Penn State Health (“PSH”) and/or The Hershey S. Milton Medical Center (“HMC”),

such as Brian D. Dodson, M.D. (“Dr. Dodson”).




                                                14
      Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25      Page 15 of 47




       43.     At all times between September 2022 and June 2023, All Defendants were

responsible for medical and surgical management of Ms. Terolli’s Chron’s disease and

gastrointestinal symptoms, including the follow-up to her previous colonoscopy, continued

physical examination with corresponding assessments and plans, and management of her condition

with appropriate imaging, medications, and/or operative intervention.

       44.     Prior to November 8, 2022, Defendants, NP Cady, Dr. Dodson, PSH and HMC

failed to timely perform a repeat colonoscopy to assess Ms. Terolli despite having all relevant and

necessary information about her personal medical and surgical history in order to evaluate her

condition.

       45.     On November 8, 2022, Dr. Dodson performed the repeat colonoscopy which

included regional surveillance biopsies of Ms. Terolli’s gastrointestinal anatomy, including

specifically the cecum and colon.

       46.     During the November 8, 2022 colonoscopy, Dr. Dodson identified and reported

seeing three sessile inflammatory polyps in the cecum, which were biopsied with cold forceps.

       47.     During the November 8, 2022 colonoscopy, Dr. Dodson identified and reported the

presence of one 10-mm inflammatory-appearing sessile polyp in the sigmoid colon, which was

resected with cold snares.

       48.     During the November 8, 2022 colonoscopy, Dr. Dodson identified and reported his

observation of moderate-to-severe/diffuse inflammation, which was characterized by congested

(edema), erythema, friability, granularity, loss of vascularity, and mucus in a continuous and

circumferential pattern from the anus to the cecum. Dr. Dodson obtained regional surveillance

biopsies with a cold forceps.


                                                15
       Case 1:25-cv-01192-JPW          Document 1        Filed 06/30/25      Page 16 of 47




       49.     During the November 8, 2022 colonoscopy, Dr. Dodson negligently failed to apply

any stain in order to test intraoperatively for the appropriate areas to conduct adequately complete

testing, biopsy, and evaluation of Plaintiff-decedent for cancer or other malignancy.

       50.     During the November 8, 2022 colonoscopy, as a result of his failure to full assess

Ms. Terolli’s gastrointestinal anatomy, Dr. Dodson negligently failed to obtain complete biopsies

of all relevant areas where abnormalities were seen on direct and/or retroflexion visualization.

       51.     On November 15, 2022, the Penn State Defendants’ employee and/or agent, Guoli

Chen, M.D., authored a surgical pathology report with respect to the biopsy specimens obtained

during the November 8, 2022 colonoscopy, including the findings of the epithelium specimen

which showed: “atypia suspicious for dysplastic or adenomatous changes, but the presence of

significant inflammation makes it difficult to exclude reactive changes. Immunostains do not show

apparently aberrant expression of p53, although scattered cells show higher levels of staining.”

       52.     At the time of and after the November 8, 2022 colonoscopy and the November 15,

2022 pathology report, Dr. Dodson, NP Cady, and the Penn State Defendants failed to recommend,

consider, order, or perform timely and necessary endoscopic surveillance, appropriate

intraoperative staining, and/or more complete, extensive, and/or targeted biopsies as required by

the standard of care.

       53.     Following the November 15, 2022 surgical pathology report, Dr. Dodson, NP Cady,

and the Penn State Defendants negligently failed to promptly and fully investigate, assess, and

accordingly intervene in the abnormalities seen on gross observation during the November 8, 2022

colonoscopy




                                                16
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 17 of 47




       54.     In failing to recommend, consider, order, and/or perform further clinical,

radiological, surgical, and pathological investigation, assessment, and intervention of the

previously-seen and previously-reported indefinite dysplasia, Dr. Dodson, NP Cady, and the Penn

State Defendants negligently failed to account for Ms. Terolli’s concerning medical history, and

failed to adequately screen Ms. Terolli for cancer, in light of the clinical and histological findings

relating to the November 8, 2022 colonoscopy.

       55.     In failing to recommend, consider, order, and/or perform further clinical,

radiological, surgical, and pathological investigation, assessment, and intervention of the

previously-seen and previously-reported indefinite dysplasia, Dr. Dodson, NP Cady, and the Penn

State Defendants negligently failed to account for Ms. Terolli’s concerning medical history, and

failed to adequately screen Ms. Terolli for cancer, in light of the clinical and histological findings

relating to her February 2, 2022 colonoscopy.

       56.     After the November 8, 2022 colonoscopy, Ms. Terolli continued to follow up with

Dr. Dodson and NP Cady at the Penn State Defendants’ Endoscopy Center for recurrent flare-ups,

but was only medically managed as an outpatient without any sense of urgency, and without any

immediate follow-up imaging, surgical evaluations, specialty consultation and/or intervention to

investigate the etiology of her dysplasia and corresponding symptomology in violation of the

standard of care.

       57.     For instance, on November 28, 2022, Ms. Terolli was seen by Defendant, NP Cady,

who documented her complaints of increased bowel movement frequency, Bristol type VII stools,

rectal discomfort and pain, and bright red blood in her stool.




                                                 17
      Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25    Page 18 of 47




       58.     In addition, on December 19, 2022 laboratory tests showed an elevated calprotectin

of 193, well exceeding the normal limits of 50, as acknowledged by NP Cady, the Penn State

Health Endoscopy Center and the Penn State Health Gastroenterology/GI Colorectal Nursing

Service.

       59.     Additionally, on December 20, 2022, Ms. Terolli was seen by Defendant, NP Cady,

who documented ongoing flare of Chron’s symptoms, Bristol Type V or VI stools, increased gas,

bowel movements 4-5 times daily, and bloody stool.

       60.     On December 20, 2022, after evaluating Ms. Terolli, no further analysis was done

by NP Cady or any of the other Defendants, including ordering abdominal imaging studies or

recommending/considering orders for further surgical exploration and/or biopsy to ascertain the

potential causes of the ongoing severe symptoms, the indefinite dysplasia, and the other medical

and presurgical history regarding Paola Terolli’s condition.

       61.     Moreover, on December 23, 2022, Ms. Terolli’s stool inflammatory markers were

elevated.

       62.     On January 31, 2023, Ms. Terolli again presented to Defendant, NP Cady, for

evaluation of her Chron’s disease and ileocolitis, including still having 4 loose bowel movements

daily, but Defendants maintained the status quo and failed to conduct any necessary surveillance

and/or follow-up care with any sense of urgency, in violation of the standard of care given the

abnormal gross observations seen during the November 8, 2022 colonoscopy and the indeterminate

dysplasia seen histologically from the incomplete and improper biopsy specimens obtained.

       63.     Indeed, at the time of the January 31, 2023 appointment, the Penn State Defendants’

employee/agent, Kofi Clarke, M.D., was not able to evaluate Ms. Terolli at Defendant, HMC, until


                                                18
       Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25      Page 19 of 47




September 7, 2023 and All Defendants failed to consider scheduling her at an earlier date, with

either Defendant, Dr. Dodson (who negligently performed the November 8, 2022 colonoscopy) or

another available physician in the Penn State Defendants’ Division of Gastroenterology.

       64.     Defendants’ failure to schedule Paola Terolli for the necessary follow up, including

but not limited to repeat colonoscopy, additional and/or more targeted surveillance biopsies and/or

any abdominal imaging, as the standard of care required; as a result of this individual failure of

NP Cady and Dr. Dodson, and the systemic failure on the part of the Penn State Defendants, Ms.

Terolli was not scheduled until September 7, 2023.

       65.     On April 4, 2023, NP Cady sent Dr. Dodson an email and/or secure chat message

requested, “can we review this patient’s case please?” with respect to laboratory analysis of

bloodwork that had been performed.

       66.     Prior to April 4, 2023, NP Cady and Dr. Dodson failed to engage in any

comprehensive and/or meaningful discussion regarding Ms. Terolli’s medical care, her symptoms,

the relevant examinations, presentations, evaluations, colonoscopy, and testing that had been

performed, and the plan for fully investigating, assessing, and treating her condition.

       67.     On May 10, 2023, Ms. Terolli presented to NP Cady at Defendants, PSH and

HMC’s facility, Penn State Health Endoscopy Center where she complained of continued bilateral

lower abdominal discomfort, random sharp umbilical pain with bending over or turning in bed,

and still approximately 4-5 loose bowel movements daily.

       68.     On May 10, 2023, Ms. Terolli was merely medically managed, without any

radiological imaging or intervention, and instructed to return to the office in two months, “sooner




                                                19
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 20 of 47




if needed”, even though her presentation clearly called for a prompt and urgent investigation of

the indeterminate dysplasia from the colonoscopy biopsies, which were incomplete.

       69.     Despite the myriad of complaints Ms. Terolli conveyed to Defendants during

clinical evaluations, her concerning gastrointestinal history known to Defendants at the time of her

presentation in August/September 2022, the abnormal gross observations seen during the

November 8, 2022 colonoscopy, and the indeterminate dysplasia seen histologically from the

incomplete and improper biopsy specimens obtained, Defendants did absolutely nothing to further

investigate the etiology and severity of her complaints, failed to screen her appropriately for cancer,

and did not even consider whether her disease process had progressed to a pathological malignancy.

       70.     On June 16, 2023, Ms. Terolli presented to the Emergency Department of Mount

Nittany Medical Center (“MNMC”) with severe abdominal pain.

       71.     On June 16, 2023, Ms. Terolli underwent CT of the abdomen with contrast which

revealed a malignant mass malignancy in the transverse colon, measuring approximately 9.4 by

5.2 cm with exophytic component extending into the mesentery, lymphadenopathy with possible

peritoneal involvement, and numerous hypodense hepatic lesions consistent with metastatic

adenocarcinoma (with a primary site in the colon).

       72.     Based on Ms. Terolli’s June 16, 2023 abdominal CT, the team of MNMC providers

involved in her care determined she required admission for further evaluation, biopsy of the mass,

and consultation with the oncology service.

       73.     On June 17, 2023, the MNMC oncology service characterized the mass that was

seen on imaging as “highly suggestive of colon cancer.”




                                                 20
      Case 1:25-cv-01192-JPW             Document 1     Filed 06/30/25      Page 21 of 47




       74.     On June 17, 2023, the MNMC oncology service stated it “would be surprising that

she would have metastatic colon cancer after having a fairly normal colonoscopy” based in large

part on the negligence of Defendants who did not inappropriately manage Ms. Terolli as if her

colonoscopy from November 8, 2022 was normal even though there were gross and microscopic

abnormalities that required further assessment and workup pursuant to the standard of care.

       75.     On June 17, 2023, the MNMC oncology service stated that “if she is found to have

colon cancer, unfortunately this would be stage IV…”

       76.     On June 17, 2023, the MNMC gastroenterology service recorded that there was

“evidence of active disease” specifically at the time of the November 8, 2022 colonoscopy, relating

to the now “>9cm mass in the transverse colon with multiple liver lesions concerning for primary

as well as metastatic disease.”

       77.     On June 19, 2023, Ms. Terolli underwent repeat colonoscopy at MNMC which

identified an “infiltrative partially obstructing large mass was found” in the proximal transverse

colon, which was oozing, measured 7cm in length and 33mm (2/3 of the lumen circumference),

and was biopsied using a cold forceps.

       78.     On June 19, 2023, Ryan Ridenour M.D. and Dustin Case, D.O. of the MNMC

gastroenterology service documented the following clinical impression with respect to the repeat

colonoscopy: “malignant partially obstructing tumor in the proximal transverse colon biopsied.

Chron’s disease with colonic involvement. Inflammation was found from the anus to the cecum.

This was moderate in severity. Biopsied.”




                                                21
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 22 of 47




       79.     On June 19, 2023, Ms. Terolli was discharged from MNMC and returned to New

York (her domicile) for oncology treatment at Lenox Hill Hospital and Memorial Sloan Kettering

Cancer Center (“MSKCC”).

       80.     On June 20, 2023, MNMC pathologist Paul Murray M.D. recorded in his surgical

pathology report that Ms. Terolli’s “very large transverse colon mass” showed microscopic

findings indicative of malignancy including: “abundant necrosis and crushed atypical cells. The

vast majority of the specimen consists of necrosis.”

       81.     On June 23, 2023, Ms. Terolli underwent a percutaneous, ultrasound-guided biopsy

of the liver at Lenox Hill Hospital, where the intervention radiology service reported: “multiple

hypoechoic masses are demonstrated throughout the liver. A hypoechoic mass at the inferior

aspect of the right hepatic lobe was biopsied…”

       82.     On June 27, 2023, the Lenox Hill Hospital issued a Radiology Report of the fine

needle aspiration of the right liver, which indicated: “rare clusters of atypical cells suspicious for

malignancy, best seen on cellblock.”

       83.     On June 28, 2023, the Lenox Hill Hospital-Northwell Health Laboratories issued a

Cytopathology Report regarding a core biopsy of the right liver lesion, showing there was “poorly

preserved and degenerated atypical cells suspicious for malignancy in the background of extensive

necrosis.”

       84.     On June 28, 2023, the Lenox Hill Hospital surgical pathology report further

indicated that immunohistochemical stains showed “increase proliferative activity with Ki-67 and

weak positivity for synaptophysin…Findings are suggestive of malignancy…Repeat biuopsy

should be considered for definitive diagnosis.”


                                                  22
      Case 1:25-cv-01192-JPW           Document 1      Filed 06/30/25     Page 23 of 47




       85.     In late June and throughout July 2023, Ms. Terolli received cancer treatment at

MSKCC but it proved to be futile due to the advanced stage of her cancer caused by Defendants’

negligence as alleged herein.

       86.     On July 19, 2023, despite undergoing extremely painful and discomforting

treatments at MSKCC, Ms. Terolli died just four days after turning 25 years old.

       87.     On July 21, 2023, an autopsy was performed by Forensic Pathologist and

Neuropathologist Zhongxue Hua, M.D., Ph.D., who observed a 3 x 3 x 2 inch mass in the ascending

colon at the ileocecal junction with tumor necrosis.

       88.     On July 21, 2023, in addition to the large ileocecal tumor seen during the gross

observations on autopsy, Dr. Hua also documented her finding of “multiple foci (at least 250) of

well-demarcated, infiltrating tumors (ranging from less than ¼” x ¼” x ¼” to 2” x 2” x 2” each)…”

       89.     Between the time of the July 21, 2023 autopsy and the final autopsy report dated

August 16, 2023, Dr. Hua reviewed postmortem histopathology specimens, including the ileocecal

tumor which confirmed her diagnosis of primary colon cancer with metastases, as follows:

               a. “Colon (ileocecal mass) with poorly differentiated adenocarcinoma”;

               b. “Liver with metastatic, poorly differentiated adenocarcinoma (of colonic

                   origin)”;

               c. “infiltrating, poorly differentiated adenocarcinoma of colon”; and

               d. “metastatic foci of poorly differentiated adenocarcinoma most consistent with

                   colonic region.”

       90.     On August 10, 2023, a forensic toxicology report indicated that Ms. Terolli was

heavily medicated with benzodiazepines and opioids (e.g., lorazepam, fentanyl, morphine,


                                                23
      Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 24 of 47




norfentanyl) in an attempt to alleviate the severe, conscious physical and emotional pain caused

by her cancer diagnosis and the tremendous discomfort and suffering associated with her treatment

at MSKCC.

       91.     Prior to the negligent care provided by the Penn State Defendants, Plaintiff-

decedent Paola Terolli was a healthy, inquisitive, talented and intelligent young woman with

extraordinary potential to be a have a successful career as an engineer and whose personal interest,

hobbies, and relationships were cut short all due to the negligence of the Penn State Defendants

and their agents, including specifically Dr. Dodson and NP Cady as specified herein.

       92.     Plaintiff, Kimet Terolli as Ms. Terolli’s surviving father, along with Ms. Terolli’s

surviving mother and Wrongful Death Act beneficiary, Mimoza Cekani, have endured the most

agonizing loss that a parent can experience and therefore seeks all recoverable damages under the

Wrongful Death Act as specified further below.

       93.     The severe and permanent damages by Plaintiff, Kimet Terolli and his late

daughter’s Estate were avoidable had the Defendants adhered to the standard of care during their

medical treatment.

       94.     All Defendants and their agents, servants, and/or employees undertook and/or

assumed a duty to Paola Terolli to provide her with reasonable, competent, skilled, proper, and

adequate medical evaluation, care, monitoring, advice, diagnoses, treatment, and management, and

to take appropriate measures to ensure her safety and physical well-being, and to avoid the risk of

harm and injury to her.




                                                24
       Case 1:25-cv-01192-JPW             Document 1        Filed 06/30/25      Page 25 of 47




        95.       Paola Terolli relied on the medical knowledge, training, skill, advice and treatment

of defendants and their agents, servants, and/or employees, identified herein, in their care and

treatment of her.

        96.       All Defendants and their agents, servants, and/or employees treated Paola Terolli

without the appropriate level of knowledge, training, skill, or advice.

        97.       The carelessness and negligence of All Defendants, acting by and through their

agents, servants, and/or employees, as identified herein, jointly and severally increased the risk of

harm to Paola Terolli and did, in fact, cause her to suffer permanent, catastrophic, and ultimately

fatal injuries.

        98.       As a direct result of the negligence of defendants and their agents, servants, and/or

employees, as identified herein, Paola Terolli’s condition was allowed to deteriorate and she was

caused to suffer the catastrophic, debilitating, and permanent injuries to the nerves, vessels, tissues,

muscles, and vital organs of her body, directly and proximately leading to her death and giving

rise to economic and non-economic damages, as follows:

                  a. aggravation of gastrointestinal symptomology;
                  b. advanced stage cancer;
                  c. various medical and surgical interventions associated with chemotherapy,
                     immunotherapy, radiation, producing physical pain and discomfort;
                  d. need for far more aggressive and debilitating cancer treatments;
                  e. organ failure, malnutrition, infection and/or increased susceptibility to
                     infection, and respiratory distress;
                  f. protracted surgical, medical, and oncological interventions and treatments;
                  g. conscious physical pain and suffering;
                  h. fear of impending death and progression/spread of metastatic disease;
                  i. severe mental anguish, anxiety, panic, fright and emotional distress;
                  j. lost opportunity for treatment with diminution of probability of survival;
                  k. disfigurement;
                  l. embarrassment and humiliation;
                  m. loss of enjoyment of life and life's pleasures;
                  n. loss of the value of household services;

                                                   25
       Case 1:25-cv-01192-JPW            Document 1           Filed 06/30/25   Page 26 of 47




                o.   loss of the pecuniary value of services, support, companionship, and society;
                p.   consequential and/or special damages;
                q.   medical expenses;
                r.   funeral, burial, and estate administration expenses;
                s.   loss of past wages;
                t.   loss of future earnings and earning capacity;
                u.   pre-judgment, delay damages, and all other interest recoverable;
                v.   all injuries and damages described in the medical records.

        99.     Had Defendants and their agents, servants, and/or employees, identified herein,

acted in accordance with accepted standards of care and promptly and properly diagnosed and

treated Paola Terolli in a timely and appropriate manner, she would not have suffered the foregoing

catastrophic physical injuries leading to and directly causing her death.

        100.    The economic and non-economic injuries, damages and losses suffered by Plaintiff-

decedent, her Estate, and her beneficiaries, as described herein were caused solely and exclusively

by the negligence of All Defendants and/or their agents, servants, and employees, as identified

herein, jointly, and severally, and were not caused or contributed to by any act or failure to act on

the part of Plaintiff or Plaintiff-decedent, Paola Terolli.




                                                  26
      Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25      Page 27 of 47




                  COUNT I – NEGLIGENCE (VICARIOUS LIABILITY)
  Plaintiff, Kimet Terolli Individually and as Administrator of the Estate of Paola Terolli,
   deceased v. Defendants, Penn State Health and The Milton S. Hershey Medical Center
                            (collectively, “Penn State Defendants”)

       101.    The preceding paragraphs are incorporated by reference as if set forth fully herein.

       102.    The negligent acts and omissions of the Penn State Defendants, acting by and

through their physicians, fellows, residents, interns, physician assistants, nurse practitioners,

nurses, therapists, and other ancillary staff for whom there are derivatively liable, as described

herein, consisted of one or more of the following:

               a.     failure to use appropriate and necessary surgical techniques and/or
                      interventions that would diagnose, treat, and manage Paola Terolli’s
                      symptoms and condition;
               b.     failure to use appropriate and necessary imaging studies and modalities to
                      diagnose, treat, intervene, and manage Paola Terolli’s symptoms and
                      condition;
               c.     failure to fully appreciate Paola Terolli’s personal, family, surgical, and
                      preoperative medical history;
               d.     failure to perform necessary and complete presurgical evaluations, testing,
                      imaging, and assessment of Paola Terolli prior to the November 8, 2022
                      colonoscopy;
               e.     failure to formulate an appropriate surgical plan for Paola Terolli’s
                      November 8, 2022 colonoscopy;
               f.     failure to formulate a proper postoperative management treatment plan
                      following Paola Terolli’s November 8, 2022 colonoscopy;
               g.     failure to order, recommend and/or refer Paola Terolli for specialty
                      consultations in light of the absence of any clear, definitive and/or unifying
                      diagnosis before, during or after the November 8, 2022 colonoscopy;
               h.     failure to order, recommend, and/or perform colectomy;
               i.     failure to apply intraoperative stains during the November 8, 2022
                      colonoscopy;
               j.     failure to consider and/or order prompt repeat examination and colonoscopy
                      by an experienced endoscopist;
               k.     failure to repeat surveillance colonoscopy and/or endoscopy with targeted
                      biopsy;
               l.     failure to order and perform continued endoscopic surveillance at frequent
                      intervals
               m.     failure to perform high-definition dye spray chromoendoscopy under
                      optimized viewing conditions;
               n.     failure to appreciate, identify, diagnose, and resect pathological tumor
                      site(s) during the November 8, 2022 colonoscopy;
               o.     failure to order, recommend, consider, and/or perform repeat surveillance
                      colonoscopy and/or biopsy following the November 8, 2022 procedure;
               p.     failure to further investigate the abnormalities observed intraoperatively
                      during the November 8, 2022 colonoscopy;
                                                 27
Case 1:25-cv-01192-JPW       Document 1       Filed 06/30/25      Page 28 of 47




      q.    failure to further investigate the abnormalities observed histologically
            during the November 8, 2022 colonoscopy;
      r.    failure to utilize appropriate surgical tools or devices for purposes of fully
            examining Paola Terolli’s colon during the November 8, 2022 colonoscopy;
      s.    failure to treat Paola Terolli’s condition with the requisite urgency through
            specialty consultations, detailed imaging modalities, and further surgical
            investigation into the abnormalities seen relative to the November 8, 2022
            colonoscopy;
      t.    failure to formulate an appropriate intraoperative plan in the event of
            abnormalities seen on gross observation during the November 8, 2022
            colonoscopy;
      u.    failure to conform to the requisite standards of gastroenterology care on
            November 8, 2022;
      v.    failure to take reasonably prudent and necessary action in response to the
            November 8, 2022 colonoscopy and associated symptoms and medical
            history of Paola Terolli;
      w.    failure to timely diagnose and treat Paola Terolli’s colon cancer based on
            the November 8, 2022 colonoscopy and her presurgical medical history;
      x.    failure to promptly and completely perform colonoscopy and necessary
            surgical, radiological, and clinical examination of Paola Terolli to rule out
            a pathological or malignant cause/etiology of her symptoms and disease
            process;
      y.    failure to make proper recommendations for follow up and treatment from
            Paola Terolli’s prior surgical procedures upon presentation in
            August/September 2022;
      z.    failure to timely and adequately consider the presence of cancer and screen
            completely for cancer at the time of Paola Terolli’s presentation in
            August/September 2022;
      aa.   failure to compare the findings of the November 8, 2022 colonoscopy to
            previous colonoscopies and gastroenterology treatment of Paola Terolli’s
            condition;
      bb.   failure to properly and reasonably supervise other healthcare providers and
            medical staff under Defendant’s control and direction in the care and
            treatment of Paola Terolli;
      cc.   failure to identify that the findings of the November 8, 2022 colonoscopy
            were suspicious for adenocarcinoma or another malignant process
            warranting closer examination;
      dd.   failure to order, perform or recommend any necessary radiological imaging
            of Paola Terolli’s abdomen and/or gastrointestinal anatomy before or after
            the November 8, 2022 colonoscopy for necessary surveillance and
            monitoring of Paola Terolli’s condition;
      ee.   failure to properly interpret and report progression, growth, differences in
            morphology, or other abnormal and irregular changes relative to potential
            malignant tissue in the colon of Paola Terolli before during or after the
            November 8, 2022 colonoscopy;
      ff.   failure to recommend follow-up surgical biopsy after the November 8, 2022
            colonoscopy in the face of suspicious findings concerning the
            gastrointestinal anatomy of Paola Terolli;
      gg.   failure to follow-up on the suspicious findings from the histological
            irregularities documented in the surgical pathology reports of Paola
            Terolli’s colonoscopies;

                                     28
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25         Page 29 of 47




               hh.     failure to diagnose and appreciate the significance of suspicious findings on
                       Paola Terolli’s colonoscopy of November 8, 2022; and
               ii.     failure to directly communicate with Paola Terolli’s primary care physician
                       and/or other health care providers on or after the November 8, 2022
                       colonoscopy.

       103.    At all relevant times, one or more of the Penn State Defendants engaged Brian D.

Dodson M.D., Janet Cady CRNP, Kofi Clarke M.D., David Mellinger M.D., Guoli Chen M.D.,

Dawn M Sanzotti PA-C, Killi Jo Simco PA-C, Thu Thi Gazzio RN, Anne Bobb RN, Rayna Craig

RN, Jenna Evans RN, Debra Lucas LPN, Erin Keen LPN, Shelly L. Snook LPN, Keira Park LPN,

Lindsey Rattray, Jessica Stroud, Brittany Meyers, Alison Houser, Elizabeth Grenoble, Wendy

McElwain, Morgan Ross, Gail A. Brown, Theresa L. Davis, Kayle Motes-West, Sarah

Worthington, Emlily Clark, and other healthcare providers at PSH and HMC as their agents,

servants and/or employees to provide medical care and treatment to Paola Terolli while acting

within the course and scope of their agency and/or employment with the Penn State Defendants

during the time period of August 2022 and July 2023.

       104.    Based on the foregoing, one or more of the Penn State Defendants are derivatively

liable for the negligent acts and omissions of these individuals under principles of respondent

superior, master servant, vicarious liability, agency and/or right of control.

       105.    The foregoing negligence of the Penn State Defendants and their aforementioned

agents, servants and employees increased the risk of harm to, and directly and proximately caused

the catastrophic and fatal injuries sustained by Paola Terolli.




                                                 29
       Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 30 of 47




       106.    As a direct and proximate result of the negligent acts and omissions of the Penn

State Defendants and their agents, servants and/or employees, as described herein, Ms. Terolli was

deprived of necessary, timely and appropriate evaluation, diagnosis, treatment, and management

of her condition.

       107.    As a direct and proximate result of the negligence of the Penn State Defendants, as

described herein, Ms. Terolli suffered catastrophic and fatal injuries and associated damages

therefrom.

       WHEREFORE, Plaintiff demands judgement against Defendants, Penn State Health and

The Milton S. Hershey Medical Center, individually, and jointly and severally with other

Defendants, and damages in an amount in excess of One Hundred and Fifty Thousand Dollars

($150,000.00), and in excess of the prevailing arbitration limits, exclusive of pre-judgment interest,

post-judgment interests and costs.




                                                 30
       Case 1:25-cv-01192-JPW             Document 1        Filed 06/30/25      Page 31 of 47




             COUNT II – CORPORATE NEGLIGENCE (DIRECT LIABILITY)
  Plaintiff, Kimet Terolli Individually and as Administrator of the Estate of Paola Terolli,
   deceased v. Defendants, Penn State Health and The Milton S. Hershey Medical Center
                            (collectively, “Penn State Defendants”)

           108.   The preceding paragraphs are incorporated by reference as if set forth fully herein.

           109.   In addition to the derivative and vicarious liability of the Penn State Defendants for

the negligent acts and omissions of their agents, servants and employees, as defined above, these

Defendants owed direct and non-delegable duties to Plaintiff-decedent, Paola Terolli, under the

tenets set forth in Thompson v. Nason, 591 A.2d 709 (Pa. 1991) and its case law progeny.

           110.   The duties of the Penn State Defendants included, inter alia: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent medical professionals; (3) a duty to oversee all persons who

practice medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce

adequate rules and policies to ensure quality care for patients.

           111.   The Penn State Defendants are comprehensive health care centers responsible for

arranging and coordinating the total health care of its patients, including Plaintiff-decedent, Paola

Terolli.

           112.   The Penn State Defendants had a duty to Plaintiff-decedent, Paola Terolli to

exercise reasonable care in the appointment and reappointment of physicians, individuals

responsible for decisions regarding patients, fellows, residents, interns, physician assistants, nurse

practitioners, nurses, therapists, and technicians.

           113.   The Penn State Defendants had a duty to their patients, and to Plaintiff-decedent,

Paola Terolli, in particular, to provide reasonable and competent medical care and services and to



                                                   31
       Case 1:25-cv-01192-JPW            Document 1        Filed 06/30/25      Page 32 of 47




avoid conduct that would increase the risk of harm and/or in fact cause harm to its patients,

including Ms. Terolli.

        114.    It is believed and therefore averred that the physicians, nursing, staff, and technical

staff of the Penn State Defendants who participated in the care of Plaintiff-decedent, Paola Terolli

at PSH and HMC, as more particularly defined herein, did not possess the requisite training,

experience, technical skills, and judgment to render proper care and services to patients with Ms.

Terolli’s clinical presentation and medical needs.

        115.    The Penn State Defendants knew or should have known that their physicians,

fellows, residents, interns, physician assistants, nurse practitioners, nurses, therapists, and

technicians were not qualified to provide competent medical care and treatment to its patients, and

to Plaintiff-decedent, Paola Terolli, in particular.

        116.    The Penn State Defendants had an obligation to formulate, adopt and enforce

adequate policies and procedures to ensure the safe and appropriate treatment to its patients such

as Plaintiff-decedent, Paola Terolli.

        117.    The Penn State Defendants were negligent in failing to supervise and monitor the

medical care and treatment rendered to Plaintiff-decedent, Paola Terolli, when they knew or should

have known that their physicians, fellows, residents, interns, physician assistants, nurse

practitioners, nurses, therapists and technicians who were charged with and responsible for her

care did not possess the requisite medical training, skill, knowledge and/or competency to properly

care for her.

        118.    The Penn State Defendants were negligent in failing to properly determine the

qualifications and proficiencies of those physicians, fellows, residents, interns, physician assistants,


                                                  32
      Case 1:25-cv-01192-JPW           Document 1        Filed 06/30/25      Page 33 of 47




nurse practitioners, nurses, therapists, and technicians involved in Plaintiff-decedent, Paola

Terolli’s medical care between August 2022 and her death, as described herein.

       119.    The corporate negligence of the Penn State Defendants arising out of the medical

care and treatment provided and/or negligently not provided to Plaintiff-decedent, Paola Terolli,

as described herein, consisted of one or more of the following:

               a.     failing to have physicians, interns, residents and fellows, technicians and
                      nurses appropriate in number, training, and/or experience to make
                      appropriate and timely decisions regarding the evaluation, diagnosis,
                      treatment and management of patients with signs and symptoms and clinical
                      history like that of Ms. Terolli, as more particularly described herein;
               b.     failing to have physicians, interns, residents, fellows, technicians and nurses
                      appropriate in number, training, and/or experience to make appropriate and
                      timely decisions with respect to the evaluation, diagnosis, treatment and
                      surgical management of patients who present to the hospital with a clinical
                      history, postoperative physical signs and symptoms, and/or results of
                      diagnostic studies such as those demonstrated by Ms. Terolli, as more
                      particularly described herein;
               c.     failing to ensure that Ms. Terolli received appropriate attention from fully
                      trained and experienced physicians, interns, residents, fellows, nursing staff
                      and technicians able to make appropriate and timely decisions regarding the
                      evaluation, diagnosis, treatment and surgical management of patients
                      exhibiting clear signs of intraoperative complications and neurological
                      compromise like that of Ms. Terolli, as described herein;
               d.     failing to select and retain physicians, nurses, physician assistants, nurse
                      practitioners, technicians and other medical staff competent in the
                      evaluation, diagnosis, treatment and management of patients exhibiting
                      clear signs of intraoperative complications and neurological compromise
                      like that of Ms. Terolli, as described herein;
               e.     failing to oversee all persons who practice medicine and surgery within its
                      walls as to patient care to assure that Ms. Terolli’s medical condition and
                      risk of additional harm were appropriately and timely evaluated, assessed,
                      managed and treated;
               f.     failing to formulate, adopt and enforce adequate policies and procedures to
                      ensure quality patient care, including written policies and procedures
                      regarding:

                       i. the need to use appropriate and necessary surgical techniques and/or
                          interventions that would diagnose, treat, and manage Paola Terolli’s
                          symptoms and condition;
                      ii. the need to use appropriate and necessary imaging studies and
                          modalities to diagnose, treat, intervene, and manage Paola Terolli’s
                          symptoms and condition;
                     iii. the need to fully appreciate Paola Terolli’s personal, family, surgical,
                          and preoperative medical history;


                                                33
Case 1:25-cv-01192-JPW       Document 1       Filed 06/30/25      Page 34 of 47



            iv. the need to perform necessary and complete presurgical evaluations,
                testing, imaging, and assessment of Paola Terolli prior to the November
                8, 2022 colonoscopy;
             v. the need to formulate an appropriate surgical plan for Paola Terolli’s
                November 8, 2022 colonoscopy;
            vi. the need to formulate a proper postoperative management treatment
                plan following Paola Terolli’s November 8, 2022 colonoscopy;
           vii. the need to order, recommend and/or refer Paola Terolli for specialty
                consultations in light of the absence of any clear, definitive and/or
                unifying diagnosis before, during or after the November 8, 2022
                colonoscopy;
          viii. the need to order, recommend, and/or perform colectomy;
            ix. the need to apply intraoperative stains during the November 8, 2022
                colonoscopy;
             x. the need to consider and/or order prompt repeat examination and
                colonoscopy by an experienced endoscopist;
            xi. the need to repeat surveillance colonoscopy and/or endoscopy with
                targeted biopsy;
           xii. the need to order and perform continued endoscopic surveillance at
                frequent intervals
          xiii. the need to perform high-definition dye spray chromoendoscopy under
                optimized viewing conditions;
           xiv. the need to appreciate, identify, diagnose, and resect pathological tumor
                site(s) during the November 8, 2022 colonoscopy;
            xv. the need to order, recommend, consider, and/or perform repeat
                surveillance colonoscopy and/or biopsy following the November 8,
                2022 procedure;
           xvi. the need to further investigate the abnormalities observed
                intraoperatively during the November 8, 2022 colonoscopy;
          xvii. the need to further investigate the abnormalities observed histologically
                during the November 8, 2022 colonoscopy;
         xviii. the need to utilize appropriate surgical tools or devices for purposes of
                fully examining Paola Terolli’s colon during the November 8, 2022
                colonoscopy;
           xix. the need to treat Paola Terolli’s condition with the requisite urgency
                through specialty consultations, detailed imaging modalities, and
                further surgical investigation into the abnormalities seen relative to the
                November 8, 2022 colonoscopy;
            xx. the need to formulate an appropriate intraoperative plan in the event of
                abnormalities seen on gross observation during the November 8, 2022
                colonoscopy;
           xxi. the need to conform to the requisite standards of gastroenterology care
                on November 8, 2022;
          xxii. the need to take reasonably prudent and necessary action in response to
                the November 8, 2022 colonoscopy and associated symptoms and
                medical history of Paola Terolli;
         xxiii. the need to timely diagnose and treat Paola Terolli’s colon cancer based
                on the November 8, 2022 colonoscopy and her presurgical medical
                history;
         xxiv. the need to promptly and completely perform colonoscopy and
                necessary surgical, radiological, and clinical examination of Paola
                Terolli to rule out a pathological or malignant cause/etiology of her
                symptoms and disease process;


                                      34
       Case 1:25-cv-01192-JPW            Document 1       Filed 06/30/25       Page 35 of 47



                     xxv. the need to make proper recommendations for follow up and treatment
                          from Paola Terolli’s prior surgical procedures upon presentation in
                          August/September 2022;
                    xxvi. the need to timely and adequately consider the presence of cancer and
                          screen completely for cancer at the time of Paola Terolli’s presentation
                          in August/September 2022;
                   xxvii. the need to compare the findings of the November 8, 2022 colonoscopy
                          to previous colonoscopies and gastroenterology treatment of Paola
                          Terolli’s condition;
                  xxviii. the need to properly and reasonably supervise other healthcare providers
                          and medical staff under Defendant’s control and direction in the care
                          and treatment of Paola Terolli;
                    xxix. the need to identify that the findings of the November 8, 2022
                          colonoscopy were suspicious for adenocarcinoma or another malignant
                          process warranting closer examination;
                     xxx. the need to order, perform or recommend any necessary radiological
                          imaging of Paola Terolli’s abdomen and/or gastrointestinal anatomy
                          before or after the November 8, 2022 colonoscopy for necessary
                          surveillance and monitoring of Paola Terolli’s condition;
                    xxxi. the need to properly interpret and report progression, growth,
                          differences in morphology, or other abnormal and irregular changes
                          relative to potential malignant tissue in the colon of Paola Terolli before
                          during or after the November 8, 2022 colonoscopy;
                   xxxii. the need to recommend follow-up surgical biopsy after the November
                          8, 2022 colonoscopy in the face of suspicious findings concerning the
                          gastrointestinal anatomy of Paola Terolli;
                  xxxiii. the need to follow-up on the suspicious findings from the histological
                          irregularities documented in the surgical pathology reports of Paola
                          Terolli’s colonoscopies;
                  xxxiv. the need to diagnose and appreciate the significance of suspicious
                          findings on Paola Terolli’s colonoscopy of November 8, 2022; and
                   xxxv. the need to directly communicate with Paola Terolli’s primary care
                          physician and/or other health care providers on or after the November
                          8, 2022 colonoscopy.

       120.    In violation of the accepted standard of care, the Penn State Defendants did not

have adequate policies and/or procedures implemented as of August 2022 and thereafter during

Plaintiff-decedent, Paola Terolli’s care, as described above, and/or if such policies were in place,

the Penn State Defendants failed to ensure that its physicians, fellows, residents, interns, physician

assistants, nurse practitioners, nurses, therapists, and technician staff were aware of, familiar with,

and adhered to such policies.

       121.    The Penn State Defendants knew or should have known that it did not have

adequate written policies and procedures in place, as described above, and that its employee-agents

who were healthcare providers did not follow these protocols.
                                                  35
       Case 1:25-cv-01192-JPW            Document 1        Filed 06/30/25       Page 36 of 47




        122.     The Penn State Defendants knew or should have known that its physicians, fellows,

residents, interns, physician assistants, nurse practitioners, nursing, therapists, and technician staff

were not familiar with and/or failed to follow the hospital’s written policies and procedures

applicable to patients with respect to the matters described above, if they existed.

        123.     The foregoing negligence of the Penn State Defendants increased the risk of harm

to, and directly and proximately caused the catastrophic and fatal injuries of Plaintiff-decedent,

Paola Terolli.

        124.     As a direct and proximate result of the corporate negligence of the Penn State

Defendants as described herein, Plaintiff-decedent, Paola Terolli was deprived of necessary, timely

and appropriate evaluation, diagnosis, treatment, and management of her condition.

        125.     As a direct and proximate result of the corporate negligence of the Penn State

Defendants, Plaintiff-decedent, Paola Terolli and her Estate and her beneficiaries suffered

catastrophic and fatal injuries, substantial economic and non-economic damages, and other

permanent losses, as described herein.

       WHEREFORE, Plaintiff demands judgment against the Penn State Defendants

individually, and jointly and severally with other Defendants, in an amount in excess of One

Hundred and Fifty Thousand Dollars ($150,000.00), and in excess of the prevailing arbitration

limits, exclusive of pre-judgment interest, and post-judgment interest and costs.




                                                  36
      Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25      Page 37 of 47




                                COUNT III – NEGLIGENCE
  Plaintiff, Kimet Terolli Individually and as Administrator of the Estate of Paola Terolli,
                     deceased v. Brian D. Dodson, M.D. (“Dr. Dodson”)

       126.    The preceding paragraphs are incorporated by reference as if set forth fully herein.

       127.    The negligent acts and omissions of Defendant Dr. Dodson in the medical

evaluation, treatment and management of Plaintiff-decedent, Paola Terolli as a physician

specializing in gastroenterology, consisted of one or more of the following:

               a.     failure to use appropriate and necessary surgical techniques and/or
                      interventions that would diagnose, treat, and manage Paola Terolli’s
                      symptoms and condition;
               b.     failure to use appropriate and necessary imaging studies and modalities to
                      diagnose, treat, intervene, and manage Paola Terolli’s symptoms and
                      condition;
               c.     failure to fully appreciate Paola Terolli’s personal, family, surgical, and
                      preoperative medical history;
               d.     failure to perform a complete presurgical evaluations, testing, imaging, and
                      assessment of Paola Terolli prior to the November 8, 2022 colonoscopy;
               e.     failure to formulate an appropriate surgical plan for Paola Terolli’s
                      November 8, 2022 colonoscopy;
               f.     failure to formulate a proper postoperative management treatment plan
                      following Paola Terolli’s November 8, 2022 colonoscopy;
               g.     failure to order, recommend and/or refer Paola Terolli for specialty
                      consultations in light of the absence of any clear, definitive and/or unifying
                      diagnosis before, during or after the November 8, 2022 colonoscopy;
               h.     failure to order, recommend, and/or perform colectomy;
               i.     failure to apply intraoperative stains during the November 8, 2022
                      colonoscopy;
               j.     failure to consider and/or order prompt repeat examination and colonoscopy
                      by an experienced endoscopist;
               k.     failure to repeat surveillance colonoscopy and/or endoscopy with targeted
                      biopsy;
               l.     failure to order and perform continued endoscopic surveillance at frequent
                      intervals
               m.     failure to perform high-definition dye spray chromoendoscopy under
                      optimized viewing conditions;
               n.     failure to appreciate, identify, diagnose, and resect pathological tumor
                      site(s) during the November 8, 2022 colonoscopy;
               o.     failure to order, recommend, consider, and/or perform repeat surveillance
                      colonoscopy and/or biopsy following the November 8, 2022 procedure;
               p.     failure to further investigate the abnormalities observed intraoperatively
                      during the November 8, 2022 colonoscopy;
               q.     failure to further investigate the abnormalities observed histologically
                      during the November 8, 2022 colonoscopy;
               r.     failure to utilize appropriate surgical tools or devices for purposes of fully
                      examining Paola Terolli’s colon during the November 8, 2022 colonoscopy;
               s.     failure to treat Paola Terolli’s condition with the requisite urgency through
                      specialty consultations, detailed imaging modalities, and further surgical

                                                37
      Case 1:25-cv-01192-JPW         Document 1        Filed 06/30/25     Page 38 of 47



                     investigation into the abnormalities seen relative to the November 8, 2022
                     colonoscopy;
              t.     failure to formulate an appropriate intraoperative plan in the event of
                     abnormalities seen on gross observation during the November 8, 2022
                     colonoscopy;
              u.     failure to conform to the requisite standards of gastroenterology care on
                     November 8, 2022;
              v.     failure to take reasonably prudent and necessary action in response to the
                     November 8, 2022 colonoscopy and associated symptoms and medical
                     history of Paola Terolli;
              w.     failure to timely diagnose and treat Paola Terolli’s colon cancer based on
                     the November 8, 2022 colonoscopy and her presurgical medical history;
              x.     failure to promptly and completely perform colonoscopy and necessary
                     surgical, radiological, and clinical examination of Paola Terolli to rule out
                     a pathological or malignant cause/etiology of her symptoms and disease
                     process;
              y.     failure to make proper recommendations for follow up and treatment from
                     Paola Terolli’s prior surgical procedures upon presentation in
                     August/September 2022;
              z.     failure to timely and adequately consider the presence of cancer and screen
                     completely for cancer at the time of Paola Terolli’s presentation in
                     August/September 2022;
              aa.    failure to compare the findings of the November 8, 2022 colonoscopy to
                     previous colonoscopies and gastroenterology treatment of Paola Terolli’s
                     condition;
              bb.    failure to properly and reasonably supervise other healthcare providers and
                     medical staff under Defendant’s control and direction in the care and
                     treatment of Paola Terolli;
              cc.    failure to identify that the findings of the November 8, 2022 colonoscopy
                     were suspicious for adenocarcinoma or another malignant process
                     warranting closer examination;
              dd.    failure to order, perform or recommend any necessary radiological imaging
                     of Paola Terolli’s abdomen and/or gastrointestinal anatomy before or after
                     the November 8, 2022 colonoscopy for necessary surveillance and
                     monitoring of Paola Terolli’s condition;
              ee.    failure to properly interpret and report progression, growth, differences in
                     morphology, or other abnormal and irregular changes relative to potential
                     malignant tissue in the colon of Paola Terolli before during or after the
                     November 8, 2022 colonoscopy;
              ff.    failure to recommend follow-up surgical biopsy after the November 8, 2022
                     colonoscopy in the face of suspicious findings concerning the
                     gastrointestinal anatomy of Paola Terolli;
              gg.    failure to follow-up on the suspicious findings from the histological
                     irregularities documented in the surgical pathology reports of Paola
                     Terolli’s colonoscopies;
              hh.    failure to diagnose and appreciate the significance of suspicious findings on
                     Paola Terolli’s colonoscopy of November 8, 2022; and
              ii.    failure to directly communicate with Paola Terolli’s primary care physician
                     and/or other health care providers on or after the November 8, 2022
                     colonoscopy.

       128.   In addition, inasmuch as Dr. Dodson supervised the medical care provided to Ms.

Terolli between August 2022 through July 2023, including treatment surrounding the November

                                              38
       Case 1:25-cv-01192-JPW            Document 1      Filed 06/30/25      Page 39 of 47




8, 2022 colonoscopy, Plaintiff alleges Dr. Dodson negligently supervised other healthcare

practitioners and providers, as specified herein, including in particular Janet Cady CRNP.

       129.    The foregoing negligence of Defendant Dr. Dodson increased the risk of harm,

including the risk of cancer progression and death, to Plaintiff-decedent, Paola Terolli.

       130.    As a direct and proximate result of the negligent acts and omissions of Defendant

Dr. Dodson, as described herein, Plaintiff-decedent, Paola Terolli was deprived of necessary,

timely and appropriate evaluation, diagnosis, treatment and management of her condition.

       131.    The negligence of Defendant Dr. Dodson increased the risk of harm to Plaintiff-

decedent, Paola Terolli, and directly and proximately caused her catastrophic injuries and death,

as more particularly described herein.

       WHEREFORE, Plaintiff demands judgment against Defendant, Brian D. Dodson, M.D.

individually, and jointly and severally with other Defendants, in an amount in excess of One

Hundred and Fifty Thousand Dollars ($150,000.00), and in excess of the prevailing arbitration

limits, exclusive of pre-judgment interest, and post-judgment interest and costs.




                                                39
      Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25      Page 40 of 47




                                COUNT IV – NEGLIGENCE
  Plaintiff, Kimet Terolli Individually and as Administrator of the Estate of Paola Terolli,
                        deceased v. Janet Cady, CRNP (“NP Cady”)

       132.    The preceding paragraphs are incorporated by reference as if set forth fully herein.

       133.    The negligent acts and omissions of Defendant NP Cady in the medical evaluation,

treatment and management of Plaintiff-decedent, Paola Terolli as a certified registered nurse

practitioner specializing in gastroenterology, consisted of one or more of the following:

               a.     failure to use appropriate and necessary surgical techniques and/or
                      interventions that would diagnose, treat, and manage Paola Terolli’s
                      symptoms and condition;
               b.     failure to use appropriate and necessary imaging studies and modalities to
                      diagnose, treat, intervene, and manage Paola Terolli’s symptoms and
                      condition;
               c.     failure to fully appreciate Paola Terolli’s personal, family, surgical, and
                      preoperative medical history;
               d.     failure to perform a complete presurgical evaluations, testing, imaging, and
                      assessment of Paola Terolli prior to the November 8, 2022 colonoscopy;
               e.     failure to formulate an appropriate surgical plan for Paola Terolli’s
                      November 8, 2022 colonoscopy;
               f.     failure to formulate a proper postoperative management treatment plan
                      following Paola Terolli’s November 8, 2022 colonoscopy;
               g.     failure to order, recommend and/or refer Paola Terolli for specialty
                      consultations in light of the absence of any clear, definitive and/or unifying
                      diagnosis before, during or after the November 8, 2022 colonoscopy;
               h.     failure to order, recommend, and/or perform colectomy;
               i.     failure to apply intraoperative stains during the November 8, 2022
                      colonoscopy;
               j.     failure to consider and/or order prompt repeat examination and colonoscopy
                      by an experienced endoscopist;
               k.     failure to repeat surveillance colonoscopy and/or endoscopy with targeted
                      biopsy;
               l.     failure to order and perform continued endoscopic surveillance at frequent
                      intervals
               m.     failure to perform high-definition dye spray chromoendoscopy under
                      optimized viewing conditions;
               n.     failure to appreciate, identify, diagnose, and resect pathological tumor
                      site(s) during the November 8, 2022 colonoscopy;
               o.     failure to order, recommend, consider, and/or perform repeat surveillance
                      colonoscopy and/or biopsy following the November 8, 2022 procedure;
               p.     failure to further investigate the abnormalities observed intraoperatively
                      during the November 8, 2022 colonoscopy;
               q.     failure to further investigate the abnormalities observed histologically
                      during the November 8, 2022 colonoscopy;
               r.     failure to utilize appropriate surgical tools or devices for purposes of fully
                      examining Paola Terolli’s colon during the November 8, 2022 colonoscopy;
               s.     failure to treat Paola Terolli’s condition with the requisite urgency through
                      specialty consultations, detailed imaging modalities, and further surgical

                                                40
       Case 1:25-cv-01192-JPW           Document 1       Filed 06/30/25      Page 41 of 47



                       investigation into the abnormalities seen relative to the November 8, 2022
                       colonoscopy;
               t.      failure to formulate an appropriate intraoperative plan in the event of
                       abnormalities seen on gross observation during the November 8, 2022
                       colonoscopy;
               u.      failure to conform to the requisite standards of gastroenterology care on
                       November 8, 2022;
               v.      failure to take reasonably prudent and necessary action in response to the
                       November 8, 2022 colonoscopy and associated symptoms and medical
                       history of Paola Terolli;
               w.      failure to timely diagnose and treat Paola Terolli’s colon cancer based on
                       the November 8, 2022 colonoscopy and her presurgical medical history;
               x.      failure to promptly and completely perform colonoscopy and necessary
                       surgical, radiological, and clinical examination of Paola Terolli to rule out
                       a pathological or malignant cause/etiology of her symptoms and disease
                       process;
               y.      failure to make proper recommendations for follow up and treatment from
                       Paola Terolli’s prior surgical procedures upon presentation in
                       August/September 2022;
               z.      failure to timely and adequately consider the presence of cancer and screen
                       completely for cancer at the time of Paola Terolli’s presentation in
                       August/September 2022;
               aa.     failure to compare the findings of the November 8, 2022 colonoscopy to
                       previous colonoscopies and gastroenterology treatment of Paola Terolli’s
                       condition;
               bb.     failure to properly and reasonably supervise other healthcare providers and
                       medical staff under Defendant’s control and direction in the care and
                       treatment of Paola Terolli;
               cc.     failure to identify that the findings of the November 8, 2022 colonoscopy
                       were suspicious for adenocarcinoma or another malignant process
                       warranting closer examination;
               dd.     failure to order, perform or recommend any necessary radiological imaging
                       of Paola Terolli’s abdomen and/or gastrointestinal anatomy before or after
                       the November 8, 2022 colonoscopy for necessary surveillance and
                       monitoring of Paola Terolli’s condition;
               ee.     failure to properly interpret and report progression, growth, differences in
                       morphology, or other abnormal and irregular changes relative to potential
                       malignant tissue in the colon of Paola Terolli before during or after the
                       November 8, 2022 colonoscopy;
               ff.     failure to recommend follow-up surgical biopsy after the November 8, 2022
                       colonoscopy in the face of suspicious findings concerning the
                       gastrointestinal anatomy of Paola Terolli;
               gg.     failure to follow-up on the suspicious findings from the histological
                       irregularities documented in the surgical pathology reports of Paola
                       Terolli’s colonoscopies;
               hh.     failure to diagnose and appreciate the significance of suspicious findings on
                       Paola Terolli’s colonoscopy of November 8, 2022; and
               ii.     failure to directly communicate with Paola Terolli’s primary care physician
                       and/or other health care providers on or after the November 8, 2022
                       colonoscopy.

       134.    The foregoing negligence of Defendant NP Cady increased the risk of harm,

including the risk of cancer progression and death, to Plaintiff-decedent, Paola Terolli.

                                                41
      Case 1:25-cv-01192-JPW             Document 1     Filed 06/30/25      Page 42 of 47




       135.    As a direct and proximate result of the negligent acts and omissions of Defendant

NP Cady, as described herein, Plaintiff-decedent, Paola Terolli was deprived of necessary, timely

and appropriate evaluation, diagnosis, treatment and management of her condition.

       136.    The negligence of Defendant NP Cady increased the risk of harm to Plaintiff-

decedent, Paola Terolli, and directly and proximately caused her catastrophic injuries and death,

as more particularly described herein.

       WHEREFORE, Plaintiff demands judgment against Defendant, Janet Cady, CRNP

individually, and jointly and severally with other Defendants, in an amount in excess of One

Hundred and Fifty Thousand Dollars ($150,000.00), and in excess of the prevailing arbitration

limits, exclusive of pre-judgment interest, and post-judgment interest and costs.




                                                42
       Case 1:25-cv-01192-JPW          Document 1       Filed 06/30/25      Page 43 of 47




                             COUNT V – WRONGFUL DEATH
  Plaintiff, Kimet Terolli Individually and as Administrator of the Estate of Paola Terolli,
                                  deceased v. All Defendants

       137.    The preceding paragraphs are incorporated by reference as if set forth fully herein.

       138.    Plaintiff, Kimet Terolli, Individually and as Administrator of the Estate of Paola

Terolli, deceased, brings this cause of action under and by virtue of the Wrongful Death Act, 42

Pa. C.S.A. § 8301, and the applicable Rules of Civil Procedure and decisional case law.

       139.    Under the Wrongful Death Act, Plaintiff-decedent Paola Terolli left surviving as

her beneficiaries: Kimet Terolli (surviving father) and Mimoza Cekani (surviving mother).

       140.    Kimet Terolli and Mimoza Cekani are entitled to recover statutory damages under

the Wrongful Death Act and have been provided notice of the institution of this action

       141.    Plaintiff claims the full measure of recoverable statutory damages in his own right

as Plaintiff-decedent’s surviving father and on behalf of his wife, Mimoza Cekani, who is Paola

Terolli’s surviving mother.

       142.    Plaintiff further claims damages for any and all pecuniary losses suffered by reason

of the death of S.A., including but not limited to damages for all medical expenses, funeral and

cremation expenses, and the costs of estate administration necessitated by reason of the injuries

which caused her death.

       143.    Plaintiff also claims statutory damages under the Wrongful Death Act for the loss

of earnings, maintenance, support, companionship, comfort, society, guidance, care, solace, and

protection, which Kimet Terolli and Mimoza Cekani would have received from their daughter had

her death not occurred by reason of the negligence of Defendants and their respective employees

and/or agents, as alleged herein.




                                                43
       Case 1:25-cv-01192-JPW          Document 1        Filed 06/30/25      Page 44 of 47




       144.    Plaintiff further claim statutory damages for the monetary support Plaintiff-

decedent, Paola Terolli, could have been expected to provide to her beneficiaries during her

lifetime had her death not occurred, including the loss of the pecuniary value of the services which

Plaintiff-decedent would have been expected to provide to her beneficiaries during his lifetime had

his death not occurred.

       145.    Finally, Plaintiff claims cognizable statutory damages under the Wrongful Death

Act for the profound emotional grief and psychological loss under substantive Pennsylvania law.

       WHEREFORE, Plaintiff demands judgment against Defendants individually, and jointly

and severally, in an amount in excess of One Hundred and Fifty Thousand Dollars ($150,000.00),

and in excess of the prevailing arbitration limits, exclusive of pre-judgment interest, and post-

judgment interest and costs.



                             COUNT VI – SURVIVAL ACTION
  Plaintiff, Kimet Terolli, as Administrator of the Estate of Paola Terolli, deceased v. All
                                        Defendants

       146.    The preceding paragraphs are incorporated by reference as if set forth fully herein.

       147.    Plaintiff, Kimet Terolli, as Administrator of the Estate of Paola Terolli, deceased,

brings this cause of action on behalf of his late daughter under and by virtue of the Survival Act,

42 Pa. Cons. Stat. Ann. § 8302, and the applicable Rules of Civil Procedure and decisional case

law.

       148.    As a result of the negligent acts and omissions of the Defendants, as described more

fully herein, Plaintiff-decedent, Paola Terolli suffered severe, catastrophic, permanent, and fatal

injuries and death resulting in the Estate’s entitlement to damages pursuant to the Survival Act.

       149.    Plaintiff claims the full measure of recoverable statutory damages on behalf of the

Estate of Paola Terolli under and by virtue of the Survival Act.

                                                44
      Case 1:25-cv-01192-JPW            Document 1        Filed 06/30/25      Page 45 of 47




       150.    For instance, Plaintiff, Kimet Terolli, as Administrator of the Estate of Paola Terolli,

deceased, claims damages for all economic losses to Paola Terolli, including, but not limited to,

her total loss of earning power or estimated future earning capacity, less his personal maintenance

costs from the time of her death through Ms. Terolli’s estimated working lifespan.

       151.    On behalf of the Estate of Paola Terolli, Plaintiff also claims damages for his

daughter’s tremendous physical and mental discomfort, conscious pain and suffering, impending

doom, anxiety, anguish, fight, and loss of enjoyment of life and life’s pleasures from the time of

the aforementioned incident until his death, and all other non-economic damages and losses

recoverable under the Survival Act and the decisional law interpreting the Act.

       WHEREFORE, Plaintiff demands judgment against Defendants individually, and jointly

and severally, in an amount in excess of One Hundred and Fifty Thousand Dollars ($150,000.00),

and in excess of the prevailing arbitration limits, exclusive of pre-judgment interest, and post-

judgment interest and costs.

                                              Respectfully Submitted,




                                              Gregory S. Spizer, Esquire (Pa. I.D. #82345)
                                              Daniel P. Rosner, Esquire (Pa. I.D. #327999)
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                                              Attorneys for Plaintiff
Dated: June 30, 2025




                                                 45
Case 1:25-cv-01192-JPW   Document 1   Filed 06/30/25   Page 46 of 47




          EXHIBIT “A”
Case 1:25-cv-01192-JPW   Document 1   Filed 06/30/25   Page 47 of 47
